
234 P.3d 208 (2010)
STATE of Washington, Respondent,
v.
Michael Scott LATOURETTE, Petitioner, and
Austin James Derby, and each of them, Defendant.
No. 81607-7.
Supreme Court of Washington.
July 7, 2010.

ORDER
¶ 1 Department II of the Court, composed of Chief Justice Madsen and Justices Alexander, *209 Chambers, Fairhurst and Stephens, considered at its July 6, 2010, Motion Calendar, whether review should be granted pursuant to RAP 13.4(b), and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the Petition for Review is granted only on the firearm enhancement issue and the matter is remanded to the Court of Appeals Division One for reconsideration in light of State of Washington v. Williams-Walker, 167 Wash.2d 889, 225 P.3d 913 (2010).
For the Court
/s/MADSEN, C.J.
CHIEF JUSTICE
